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            EXHIBIT B
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                               Id.




              See                                  Shedding Light on Outcomes in
Class Actions, in
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             First



                                       Second




              First




Compare, e.g. id
      with                                               Procedural Guidance for
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    Second




                                                                  pro rata
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